              Case 8:19-bk-00786-RCT         Doc 14     Filed 03/25/19        Page 1 of 3



                                        ORDERED.

         Dated: March 25, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

In re:                                                    Case No. 8:19-bk-00786-RCT
                                                          Chapter 7
Herbert L. Schimkus
Patricia A. Schimkus,

      Debtor(s).
_____________________________/

              ORDER APPROVING RETENTION OF BK GLOBAL REAL
            ESTATE SERVICES AND HUNT REALTY GROUP TO PROCURE
         CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

          THIS CASE came on for consideration without hearing on the Trustee’s Application to

Retain BK Global Real Estate Services and Hunt Realty Group to Procure Consented Public Sale

Pursuant to 11 U.S.C. § 327, 328 (Doc. No. 12) filed on March 20, 2019. The Court concludes

that BK Global Real Estate Services (“BKRES”) and Hunt Realty Group (“Listing Agent”) do

not hold or represent an interest adverse to the estate and are disinterested persons within the

meaning of Section 101(14) of the Bankruptcy Code. The court further concludes that BKRES

and Listing Agent are qualified to represent the Trustee and that the Court’s authorization of

their employment is in the best interest of the estate. Accordingly, it is:

          ORDERED:

          1. The Application is approved.
            Case 8:19-bk-00786-RCT            Doc 14   Filed 03/25/19     Page 2 of 3



       2.      Defined terms not otherwise defined herein have the meanings given to them in

the Application and the Affidavit.

       3.      The Trustee is authorized to retain and compensate BKRES and local licensed

Listing Agent to provide the necessary professional assistance and representation required by the

Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure Secured

Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter 7 case

pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014

and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement, the

Listing Agreement and this Order. BKRES and Listing Agent shall not split or otherwise share

their fees with any other person or entity.

       4.      BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

       5.      BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the

Bankruptcy Code.

       6.      BKRES and Listing Agent shall be authorized to receive and retain their fees

from Secured Creditor at the successful closing of the sale of the Property without necessity of

further order of the Court. The estate shall, in no circumstance, be obligated to compensate

BKRES or Listing Agent in such event and BKRES and Listing Agent shall not have a claim

against the estate for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by,

through or under either of them, shall only have recourse for recovering its fee to Secured

Creditor. The estate shall have no liability for any such claim.




                                                 2
            Case 8:19-bk-00786-RCT           Doc 14      Filed 03/25/19     Page 3 of 3



       7.      Trustee is hereby authorized to engage Brokers BKRES and Listing Agent to

provide reasonable and necessary property preservation, maintenance, and upkeep services to the

subject estate Property to facilitate the sale of the Property for the benefit of the Secured

Creditor(s) and bankruptcy estate, and to reimburse the Brokers in a maximum amount not to

exceed $500.00 for the approved reasonable, necessary costs and expenses of preserving, or

disposing of, the subject Property, without the need for further Order.

       8.      Notice of the Application was adequate and proper.

       9.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.


Trustee Christine L. Herendeen is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.




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